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               EXHIBIT A
       Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 2 of 41
                                                                       CT Corporation
                                                        Service of Process Notification
                                                                                                                   06/28/2022
                                                                                                      CT Log Number 541830099


Service of Process Transmittal Summary

TO:       LEGAL DEPARTMENT - SOP
          TESLA, INC.
          901 PAGE AVE
          FREMONT, CA 94538-7341

RE:       Process Served in California

FOR:      Tesla, Inc. (Domestic State: DE)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                         Re: SYLVIA JACKSON and GEORGE JACKSON, JR // To: Tesla, Inc.

DOCUMENT(S) SERVED:                      Summons, Complaint, Demand, Cover Sheet, Attachment(s), Notice, Alternative Dispute
                                         Resolution
COURT/AGENCY:                            Santa Clara County Superior Court of California, CA
                                         Case # 22CV399465
NATURE OF ACTION:                        Product Liability Litigation - Lemon Law - 2020 Tesla Model 3 - VIN: 5YJ3E1EA4LF659047

PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

DATE/METHOD OF SERVICE:                  By Process Server on 06/28/2022 at 01:06

JURISDICTION SERVED:                     California

APPEARANCE OR ANSWER DUE:                Within 30 days after this summons and legal papers are served on you (Document(s)
                                         may contain additional answer dates)
ATTORNEY(S)/SENDER(S):                   Andrew McDevitt
                                         LAW OFFICES OF WALKUP, MELODIA, KELLY & SCHOENBERGER
                                         650 CALIFORNIA STREET, 26TH FLOOR
                                         SAN FRANCISCO, CA 94108
                                         415-981-7210
ACTION ITEMS:                            CT has retained the current log, Retain Date: 06/29/2022, Expected Purge Date:
                                         07/04/2022

                                         Image SOP

                                         Email Notification, LEGAL DEPARTMENT - SOP legalsop@tesla.com

REGISTERED AGENT CONTACT:                C T Corporation System
                                         330 N BRAND BLVD
                                         STE 700
                                         GLENDALE, CA 91203
                                         877-564-7529
                                         MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other




                                                                                                                        Page 1 of 2
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                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                06/28/2022
                                                                                                   CT Log Number 541830099

information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                     Page 2 of 2
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                                                                     J® Wolters Kluwer



                              PROCESS SERVER DELIVERY DETAILS



Date:                                          Tue, Jun 28, 2022
Server Name:                                   Dion Jones




 Entity Served                   Tesla, Inc.

 Case Number                     22CV399465

 Jurisdiction                    CA



                                                  Inserts
                                                                                                                                                        SUM-100
                 Case 5:22-cv-04380-BLF
                          SUMMONS Document 1-2 Filed 07/28/22 FOR
                                                                Page
                                                                   COURT5USEofONLY
                                                                                41
                                                            (SOLO PAPA USO DE LA CORTE)
                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:                                  Electronically filed
(AVISO AL DEMANDADO):                                 by Superior Court of CA,
TESLA, INC. and DOES ONE through ONE HUNDRED          County of Santa Clara,
                                                      on 6/1/2022 8:07 PM
                                                      Reviewed By:M. Dominguez
YOU ARE BEING SUED BY PLAINTIFF:                      Case #22CV399465
(LO ESTA DEMANDANDO EL DEMANDANTE):                   Env #9119465
 SYLVIA JACKSON                    and GEORGE JACKSON,                   JR.


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.goviselfh.elp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.goviselthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO!Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
  continuacion.
      Tiene 30 DiAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presen tar una respuesta por escrito en esta
  code y hacer que se entregue una copia al demandante. Una carte o una Hamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informed& en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secretario de la code
  que le dé un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
  podra guitar su sue/do, dinero y bienes sin mas advertencia.
      Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
 remisi6n a abogados. Si no puede pager a un abogado, as posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
  programa de setvicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
  colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la code antes de que la code pueda desechar el caso.
                                                                                                             CASE NtJMBER
The name and address of the court is:                                                                       (NOmero del Caso):
(El nombre y direcci6n de la code es):                                                                                           22CV399465
 Santa Clara Superior Court
 191 N. First Street
 San Jose, CA 95113
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Andrew McDevitt 271371 Walkup, Melodia, Kelly & Schoenberger
 650 California Street, 26th Floor (415) 981-7210
 San Francisco, CA 94108-2615
 DATE:                                                                  Clerk, by                                                                            , Deputy
(Fecha) 6/1/2022 8:07 PM                       Clerk of Court           (Secretario)
                                                                                                M. Dominguez                                                (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citaciOn use el formulario Proof of Service of Summons,(POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served

                                   2
                                   1i             a
                                           as an individual defendant.
                                           as the person sued under the fictitious name of (specify):



                                             3.
                                                  under:   m
                                                  al on behalf of (specify): TESLA, INC.
                                                                CCP 416.10 (corporation)
                                                                CCP 416.20 (defunct corporation)
                                                                CCP 416.40 (association or partnership)
                                                                                                                           CCP 416.60 (minor)
                                                                                                                           CCP 416.70 (conservatee)
                                                                                                                           CCP 416.90 (authorized person)
                                                                other (specify):
                                             4.   p by personal delivery on (date):
                                                                                                                                                              Page101
Form Adopted for Mandatory Use                                          SUMMONS                                                  Code of Civil Procedure §§ 412.20, 465
 Judicial Council of California           Essential
 SUM-100[Rev. July 1,2009]      CET                                                                                                               www.courtinte.ca.gov
                                ceb.com   raForms-
                                                                                                               Jackson,Sylvia & George-16001
     Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 6 of 41

                                                                E-FILED
                                                                6/1/2022 8:07 PM
                           LAW OFFICES OF                       Clerk of Court
 1                                                              Superior Court of CA,
     WALKUP, MELODIA,KELLY &SCHOENBERGER
 2
                     A PROFESSIONAL CORPORATION                 County of Santa Clara
                 650 CALIFORNIA STREET, 26'FLOOR                22CV399465
 3             SAN FRANCISCO, CALIFORNIA 94108-2615             Reviewed By: M. Dominguez
               T:(415)981-7210 F:(415)391-6965

 4
   ANDREW P. McDEVITT (State Bar #271371)
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 6 kconnolly@walkuplawoffice.com
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   Landisville, PA 17538
 9 Phone:(717) 519-7254
   jaimejacksonlaw.com
10
     ATTORNEYS FOR PLAINTIFFS
11 SYLVIA JACKSON AND GEORGE JACKSON
12
13                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
14                       COUNTY OF SANTA CLARA
                                             22CV399465
15 SYLVIA JACKSON and GEORGE        Case No.
   JACKSON, JR,
16                                  COMPLAINT FOR DAMAGES;
                    Plaintiffs,     DEMAND FOR JURY TRIAL
17
          V.
18
   TESLA,INC. and DOES ONE through
19 ONE HUNDRED,
20                                    Defendants.

21
22        Come now Plaintiffs SYLVIA JACKSON and GEORGE JACKSON, JR. allege

23 as follows:
24                                                    PARTIES

25        1.       Plaintiffs Sylvia and George Jackson, Jr. are citizens of Montgomery

26 County, Maryland, residing at 8018 Warfield Road, Gaithersburg, Maryland.
27        2.       Plaintiffs are informed and believe, and thereon allege, that Defendant

28 TESLA INC. dba TESLA MOTORS,INC.("TESLA")is a Delaware corporation

                                                         1
                          COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
                                 Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 7 of 41




                        1 operating in and under the laws of the State of California and conducting business
                        2 throughout California.

                        3              3.      TESLA's principal place of business is California as its nerve center has
                        4 always been and remains in California.
                        5              4.      In October of 2021, Chief Executive Officer of TESLA, Elon Musk,
                       6 indicated that the company intends to continue operation of their primary factory in
                        7 Fremont, CA and will be continuing to expand their activities in California.'
                       8               5.      In a March 2, 2022 Twitter Post, Mr. Musk noted that "[w]e still operate
                        9 our California factory, which is the largest auto plant in North America, at full
                     10 capacity and are considering expanding it significantly. It has built 2/3 of all electric
                     11 vehicles in North America, twice as much as all other carmakers combined."2
                     12                6.      TESLA's Executive Leadership and Board of Directors are based all over
                     13 the country and in different continents including Sydney (Aus), California, Colorado,
                     14 New York and Chicago.3
                     15                7.      Plaintiffs are informed and believe, and thereon allege, that TESLA
                     16 relocated its headquarters to Texas for tax purposes, but a far greater amount of
                     17 corporate decision-making and control occurs in California than in Texas.
                     18 Specifically, it appears that very little corporate decision making happens in Texas
                     19 other than annual shareholder meetings.
                     20                8.      For example, the company's Chief Financial Officer and Senior Vice
                     21 President of Powertrain and Energy Engineering,are located in Palo Alto and Santa
                     22

                     23
                             1   https://apnews.com/article/technology-business-palo-alto-elon-musk-austin-
                     24 7a9b375a5b69c25564c9ae4dc4fba64e. Newsweek, Tesla Headquarters Moving to Austin, But Will Not
                             Leave California, Musk Says,(Oct. 7, 2021) https://www.newsweek.com/tesla-headquarters-moving-
                     25      austin-will-not-leave-california-musk-says-1636837

                     26      2Elon Musk (@elonmusk), Twitter (Mar. 22, 2022, 5:44 PM),
                             https://twitter.com/elonmusk/status/1499198925210857472.
                     27
                             3   https://ir.tesla.com/corporate
                     28
      LAW OFFICES OF
WALKUP, MELOUIA,KELLY
  & SCHOENBERGER
   PRINESSIONa CORPORATION
  650 CALIFORNIA STREET
        267H FLOOR
                                                                                 2
 SAN FRANCISCO, CA 94108
      (415)981.7210
                                                    COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                         1 Cruz, California.4 Additionally, TESLA's website confirms Tesla Operations &
                         2 Business Support and Human Resources are based in Fremont, CA.5 Further,
                         3 TESLA's Fremont factory, which churns out all four TESLA vehicles, built more cars
                         4 than any other North American auto plant in 2021.6 Last year, the factory spat out

                         5 an average of 8,550 vehicles each weak, or nearly 450,000 units over the course of the
                         6 year.7 TESLA's principal place of business is California, as its nerve center has
                         7 always been and remains in California.
                         8               9.     Plaintiffs are informed and believe, and thereon allege, that Defendant

                         9 TESLA does business in all 50 states and the State of California.
                       10                10.    Plaintiffs are informed and believe, and thereon allege, that Defendant
                       11 TESLA manufactured, sold, and warranted the Tesla Model 3, in California,
                       12 including the Tesla Model 3(VIN No. 5YJ3E1EA4LF659047) and/or its agents,
                       13 divisions, or subsidiaries designed, manufactured, and installed all the systems in
                       14 the Model 3, including all systems responsible for acceleration and braking.
                       15                11.    Plaintiffs are informed and believe, and thereon allege, that Defendant
                       16 TESLA manufactured the Tesla Model 3 with VIN No. 5YJ3E1EA4LF659047 at its
                       17 plant in Fremont, California and that significant portions of the design and
                       18 engineering of that vehicle, including but not limited to the software and programing,
                       19 was also performed in California.
                       20                12.    Defendant TESLA has regularly conducted and continues to conduct

                       21 business throughout the United States by and through its duly-authorized divisions,
                       22 subdivisions, agents, servants and employees, and is specifically engaged in the

                       23
                       24
                               4   https://www.linkedin.com/in/zachkirkhorn ; https://www.linkedin.com/in/baglino
                       25
                               5   https://www.tesla.com/careers/search/?department=11&region=5
                       26
                          6 https://www.businessinsider.com/tesla-fremont-california-factory-most-productive-in-country-gm-

                       27 ford-2022-1

                       28      7   Id.
       LAW OFFICES OF
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  .S SCHOENBERGER
  A ARCIESSIONAl CORPORATION
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                                                                                   3
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                      1 business of designing, engineering, developing, manufacturing, formulating,
                      2 fabricating, assembling, equipping, testing, inspecting, approving, repairing,
                      3 labeling, advertising, promoting, marketing, packaging, supplying, warrantying,
                      4 distributing, wholesaling and/or selling TESLA vehicles and the component parts of
                      5 TESLA vehicles, including the 2020 Tesla Model 3(Vin No. 5YJ3E1EA4LF659047)
                     6 which struck and grievously injured Plaintiff Sylvia Jackson.
                      7        13.    At all times herein relevant, Defendant TESLA marketed their products
                      8 throughout the United States with an understanding that their products would be
                      9 used throughout the United States.
                    10         14.    Plaintiffs are ignorant of the true names and capacities of DOES ONE
                    11 through ONE HUNDRED and therefore sue such Defendants by fictitious names.
                    12 Plaintiffs will amend this complaint to allege the true names and capacities of said
                    13 Defendants when they have been identified. On information and belief, Plaintiffs
                    14 allege that each of said Defendants is responsible in some manner for the occurrences
                    15 herein alleged, and Plaintiffs' damages as herein alleged were proximately caused by
                    16 said Defendants, said Defendants' agents, servants, or employees, and each of them,
                    17 or through said Defendants' ownership, operation, control, possession, distribution,
                    18 and supervision, servicing, maintenance, inspection, repair, entrustment, use,
                    19 furnishing, design, manufacturing, or sale of the premises, products or
                   20 instrumentalities which proximately caused the injuries and damages herein.
                   21          15.    Plaintiffs are informed and believe, and thereon allege, that at all times
                   22 herein mentioned, each Defendant acted as the agent, servant, partner, franchisee,

                   23 joint venturer, and/or employee of each of the other Defendants within the course and
                   24 scope of such agency and authority.

                   25                            INTRODUCTORY ALLEGATIONS

                   26          16.    On November 24, 2021, at approximately 5:46 p.m. in the parking lot of
                   27 the Giant grocery store on 20944 Frederick Road, Germantown, Maryland, Plaintiff

                   28 SYLVIA JACKSON was loading groceries into the trunk of her vehicle, which was
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   Sz SCHOENBERGER
   PROMSION.CORPORSTION
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                       1 parked in a parking spot in the parking lot.
                       2         17.   At said time and place, a Tesla Model 3, operated in significant part by
                       3 its internal computer system, was directly behind Plaintiff JACKSON's vehicle.
                      4          18.   At all relevant times, Tesla's Model 3 was equipped with a vision

                       5 system, which consisted of cameras and radar sensors, software and hardware which
                      6 would have alerted the vehicle's computer system that the vehicle was in a parking
                       7 lot, surrounded by parked cars and pedestrians, and that Plaintiff SYLVIA
                      8 JACKSON and her vehicle were directly in the path of the Tesla.
                      9          19.   In her statement to the police the driver of the TESLA stated: "I saw a

                    10 person putting groceries in the vehicle straight ahead of the lane I was in. I stopped
                    11 and waited for the person to finish loading groceries. I was getting the key card ready
                    12 from the center console. And the car just moved forward. I saw someone fall. And the
                    13 car moved back to where it is now. I thought the car was in park and both my feet
                    14 were on the floor. I never stepped on either of the pedals."
                    15           20.   Plaintiffs are informed and believe, and thereon allege, that Defendant
                    16 TESLA admitted that the Tesla Model 3 issued a Forward Collision Warning, but did
                    17 not engage its automatic emergency braking, apply braking, or reduce acceleration.
                    18           21.   The Tesla accelerated forward with 100 percent acceleration and no
                    19 braking into Plaintiff JACKSON, crushing her lower extremities between the Tesla
                    20 and Plaintiffs vehicle, resulting in amputation of both Plaintiff JACKSON'S legs
                    21 above her knees.
                    22           22.   The Tesla's vision system detected Plaintiff JACKSON and her vehicle

                    23 in front of the Tesla and recorded the Tesla slamming into Plaintiff JACKSON
                    24 crushing her.
                    25           23.   TESLA touts the Tesla Model 3 is a "computer on wheels," a highly
                    26 advanced automobile fitted with sophisticated camera and radar fusion system,
                    27 hardware and software, designed to effectively automate as many of the automobile's

                    28 features as possible.
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                          1         24.   Prior to November 2021, TESLA knew about at least 192 complaints of
                          2 sudden acceleration in Tesla vehicle Models and that pedal confusion, pedal
                         3 misapplication, or sudden unintended acceleration are among the leading causes of
                         4 Tesla crashes.

                         5          25.   TESLA designed the Model 3 with an instantaneous acceleration system
                         6 with no delay and no noise, with instantaneous torque.
                          7         26.   As TESLA has moved further toward the goal of computer-guided
                         8 driving, Tesla was aware that its vehicles — including the Model 3 — have reportedly
                         9 on at least nearly 200 occasions accelerated suddenly and without explanation,
                       10 absent any intentional driver direction or command. This sudden unintentional
                       11 acceleration ("SUA"), in which a TESLA vehicle accelerates to full power even though
                       12 the driver reports that he or she did not command the acceleration by pressing the
                       13 accelerator pedal, has manifested in every Tesla Model line to date at rates that far
                       14 exceed historical rates for any other vehicles.
                       15           27.   TESLA designed its vehicles, including the subject Model 3, to
                       16 accelerate at an extremely fast rate unaccompanied by engine noise associated with a
                       17 typical internal combustion engine, such that consumers unaccustomed to such a
                       18 vehicle would not receive warning of immediate high velocity movements, rendering
                       19 them unsafe and more susceptible to sudden unintended acceleration.
                       20           28.   In October 2016, TESLA announced that the Model 3—and all Tesla
                       21 Models—would have the necessary hardware to become fully autonomous, even if
                       22 such capability was not yet available when a given automobile is purchased. The goal
                       23 would be for Tesla's systems to eventually catch up to the hardware it installed in the
                       24 vehicle.

                       25           29.   The Tesla was designed with a vision system consisting of multiple
                       26 cameras and radar sensors to see and detect the Tesla's surroundings and path of
                       27 travel and provide braking and/or acceleration/deceleration in response to the vision

                       28 systems' inputs.
       LAW OFFICES OF
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   & SCHOENBERGER
  A PROFESSIONAL CORPORATION
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         26711 FLOOR
                                                                      6
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                            1        30.    After its release, TESLA also added to Model 3 vehicles a feature called
                            2 Automatic Emergency Braking ("AEB"), wherein the vehicle's computer system uses
                            3 its forward-looking camera and the radar sensor to determine the distance from
                            4 objects in front of the vehicle. When a frontal collision is considered unavoidable, the
                            5 AEB system is designed to automatically apply the brakes to reduce the severity of
                        6 the impact.
                            7        31.    According to the Tesla Model 3 Owner's Manual Automatic Emergency

                        8 Braking:
                            9               Model 3 is designed to determine the distance from a
                                            detected object traveling in front of it. When a frontal
                      10                    collision is considered unavoidable, Automatic Emergency
                                            Braking is designed to apply the brakes to reduce the
                      11                    vehicle's speed and therefore, the severity of the impact.
                                            The amount of speed that is reduced depends on many
                      12                    factors, including driving speed and environment.

                      13                    Automatic Emergency Braking operates only when driving
                                            between approximately 3 mph (5 km/h) and 90 mph (150
                      14                    km/h).
                      15                    Automatic Emergency Braking does not apply the brakes,
                                            or stops applying the brakes, when:
                      16
                                            •      You turn the steering wheel sharply.
                      17
                                            •      You press and release the brake pedal while Automatic
                      18                           Emergency Braking is applying the brakes.

                      19                    •      You accelerate hard while Automatic Emergency Braking is
                                                   applying the brakes.
                      20
                                            •      The vehicle, motorcycle, bicycle, or pedestrian is no longer
                      21                           detected ahead.
                      22             32.    In October 2018, TESLA introduced into all circulating vehicles—

                      23 including the Model 3—a new software program called "Obstacle-Aware
                      24 Acceleration"("OAA") which was designed to "reduce the impact of a collision by

                      25 reducing motor torque and in some cases applying the brakes" if the vehicle detects
                      26 an object in its driving path. OAA should be triggered when a driving gear is
                      27 engaged, the vehicle is stopped or traveling less than 10 mph, and the vehicle detects

                      28 an object in its immediate driving path—in other words, in the circumstances when
     LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
  PlICKESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
                                                                          7
  SAN FRANCISCO, CA 94108
       I415) 981-7210
                                                COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
                                   Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 13 of 41




                               1 SUA generally manifests in Tesla vehicles, and when SUA specifically manifested in
                               2 this situation, which occurred in a parking lot environment where 100% acceleration
                               3 is not necessary. This software patch was introduced into Tesla Model vehicles after
                               4 they were first released to the market.
                               5        33.   TESLA describes this feature as follows:

                               6                            Obstacle-Aware Acceleration

                               7              Obstacle-Aware Acceleration is designed to reduce the
                                              impact of a collision by reducing motor torque and in some
                               8              cases applying the brakes, if Model 3 detects an object in its
                                              driving path. The touchscreen displays a visual warning
                               9              and sounds a chime when the brakes are automatically
                                              applied. For example, Model 3, while parked in front of a
                          10                  closed garage door with Drive engaged, detects that you
                                              have pressed hard on the accelerator pedal.
                          11                  Although Model 3 still accelerates and hits the garage door,
                                              the reduced torque may result in less damage.
                          12
                                              Obstacle-Aware Acceleration is designed to operate only
                          13                  when all of these conditions are simultaneously met:
                          14                  •      Drive or Reverse is engaged.
                          15                  •      Model 3 is stopped or traveling less than 10 mph (16 km/h).
                          16                  •      Model 3 detects an object in its immediate driving path.
                          17            34.   TESLA further advertises Obstacle Aware Acceleration, which

                          18 automatically reduces acceleration and can also apply the brakes when an obstacle is
                          19 detected in front of your car while driving at low speeds.
                          20            35.   Plaintiffs allege, based on information belief, that the need for this Low-
                          21 Speed Obstacle Aware Acceleration algorithm was precisely because of the numerous
                          22 reported instances to TESLA of the propensity of these Tesla vehicles to experience

                          23 high power acceleration when the vehicles are stopped or travelling at very low
                          24 speed. Whether these high-power acceleration events were not commanded or

                          25 resulted from possible pedal misapplication, either way TESLA has been put on
                          26 notice well before the sale of the subject Tesla Model 3 and the subject incident, of
                          27 many complaints of sudden high-power acceleration when the Tesla is stopped or

                         28 moving at low speeds in a parking lot environment with other objects, such as
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                               1 pedestrians and other vehicles directly in the path of travel of the Tesla resulting in
                               2 impacts or near misses. In response to receiving notice of these events, TESLA
                               3 misrepresented that it had designed a system which would prevent these foreseeably
                               4 dangerous situations.
                               5            36.    In a speech on June 20, 2021, Andrej Karpathy — TESLA's Senior
                               6 Director of Artificial Intelligence — explained that "Autopilot software is always
                               7 running and providing active safety features and of course the Autopilot
                               8 functionality." Mr. Karpathy showed video examples of what he referred to as Tesla's
                               9 "pedal misapplication mitigation (PMM)." With respect to its functionality, Mr.
                          10 Karpathy claimed that PMM prevented the Tesla from striking a pedestrian in a
                          11 scenario where the driver inadvertently pressed the accelerator:"Here a person is
                          12 unparking from their driving spot, and they are trying to turn, and then they mess
                          13 up and they accidentally floor it. So they floor it right there, and the system kicks in.
                          14 It sees pedestrians ahead of us, and it, uh, slams on the brakes and averts, uh, what
                          15 would be a very gnarly situation in this case." The two images below show the
                          16 presentation view (with Mr. Karpathy in the upper right hand corner) and four
                          17 frames from the video that — according to Mr. Karpathy — showed the Tesla "seeing"
                          18 pedestrians and interrupting the vehicle's acceleration to avoid striking them8:
                          19 / / /
                          20 / / /
                          21 / / /
                          22 / / /

                          23 / / /
                          24 / / /
                          25'II

                          26 / / /
                          27

                          28       8   Available at https://youtu.be/g6b0wQdCJrc?t=190
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                               1
                                                                          Offering value today
                               2                              AEB                                   PMM


                               3

                               4

                               5

                               6

                               7                     Traffic Control Warning                        PMM

                               8

                               9

                          10

                          11                                                           from pet


                          12
                                                    PMM                                                   PMM
                          13

                          14

                          15

                          16

                          17

                          18

                          19                   mitigation                           VCO,          driving spot,
                          20
                                                    PMM                                                   PMM
                          21

                          22

                         23

                          24

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                         27             atgv          and.                             dIMP3        46 brakes
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                             1
                             2            37.     Additionally, TESLA's 2021 Impact Report states that the "Pedal

                             3 Misapplication Mitigation" system "has prevented or mitigated hundreds of collisions
                             4 every month."9
                             5            38.     If properly designed, the Tesla Model 3, and its Obstacle Awareness

                          6 Acceleration ("OAA"), Pedal Misapplication Mitigation ("PMM") and/or the Automatic
                             7 Emergency Braking ("AEB"), would have recognized that Plaintiff and her parked
                          8 vehicle were directly in its path for at least twelve seconds, would have prevented the
                          9 Tesla Model 3 from accelerating full power without any braking in a parking lot
                        10 environment, would have prevented the subject Tesla Model 3 from accelerating into
                        11 Plaintiff and her parked vehicle without braking, and would have reduced the
                        12 acceleration or reduced motor torque or applied the braking to prevent the loss of
                        13 both her legs.
                        14                39.     TESLA's failure to resolve the SUA and/or pedal misapplication problem

                        15 in the Tesla Model 3 and its other vehicle Models when the Tesla is stopped or
                        16 moving at low speeds in a parking lot environment, or to at least mitigate the
                        17 problem by building in a fail-safe braking and depowering system to prevent
                        18 situations as such occurred here—an innocent person simply loading groceries into
                        19 her trunk in a parking lot being observed by the Tesla's camera system when a Tesla
                        20 accelerated full power into her without braking, crushing and pinning her—is
                        21 inexplicable, defective, negligent, reckless, and rendered the vehicle unreasonably
                        22 dangerous.

                        23                40.     Before the subject Tesla Model 3 was sold, TESLA was put on notice

                        24 that members of the general public report that SUA has been and remains a problem
                        25 with Tesla vehicles. The publicly available National Highway Traffic Safety

                        26
                        27
                                 9   Available at https://www.tesla.comhis_videos/2021-tesla-impact-report.pdf
                        28
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                              1 Administration's Consumer Complaint Database contains all motor vehicle-related
                              2 consumer complaints submitted to NHTSA since January 2000. Consumers submit
                              3 what is called a "Vehicle Owner Questionnaire" in which they are asked to provide
                              4 information that includes: the make, Model, and Model year of the vehicle, the
                              5 approximate incident date, the mileage at which the incident occurred, whether the
                              6 incident involved a crash or a fire, whether any persons were injured or killed in the
                              7 incident, the speed of the vehicle at the time of the incident, and a description of the
                              8 incident along with a description of the vehicle components they believe were
                              9 involved in the incident.
                         10            41.    The majority of consumer complaints are submitted online at
                         11 www.safercar.gov where consumers can input this information directly into the
                         12 database through their computer. They can also submit complaints by telephone
                         13 through the Auto Safety Hotline, by submitting a paper Vehicle Owner
                         14 Questionnaire form, and by submitting consumer letters to NHTSA by mail. This
                         15 information is then entered into NHTSA's ARTEMIS database where it can be
                         16 searched and reviewed by the general public and vehicle manufacturers alike, by
                         17 make, Model, Model year, and component. This database is promoted by NHTSA as a
                         18 valuable consumer information tool. Just in the past three years, dozens of
                         19 complaints have been submitted to NHTSA describing Tesla drivers' experience with
                         20 unintended acceleration.
                         21            42.    Within the first year of Model 3 vehicles being on the road, and with
                         22 only 18,240 Model 3 vehicles in use (the vast majority of which had been on the road

                         23 significantly less than one year), there were thirteen (13) reported incidents of
                         24 Sudden Unintended Acceleration—a staggeringly high rate of SUA incidents of 71

                         25 per 100,000 vehicles per year—seventy times the average reported to NHTSA.
                         26            43.    From September 2016 through June 2020, 192 consumer complaints

                         27 have been submitted to NHTSA describing SUA events by Tesla vehicles.

                         28            44.    According to the auto industry publication InsideEVs, TESLA sold
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                            1. approximately 543,540 vehicles in the United States from 2013-2019, with over half
                            2 of those having been sold since 2018. Thus, the number of Tesla SUA incidents per

                            3 100,000/year is many multiples of the historical 1 SUA incident per 100,000 per year
                            4 that NHTSA has historically reported.

                            5        45.   The 192 complaints are striking in the similarity of the descriptions of
                            6 the circumstances under which SUA events occur. They are also alarming in that the
                            7 incidents reflected in these complaints indicate that SUA events involving Tesla
                            8 vehicles have caused 171 crashes and injured 64 people.
                            9        46.   They are also striking in how they are distributed across all Tesla
                       10 Models and Model years:
                       11                      T€ 1a S                  Comp4air(*Si.ibmitted t6INHT:87A

                       12                                               Mod( S      111()(1(4 :3   NI ode I :3   Tot -il

                       13                      20131                      17                N/A           N/A         17
                       14                      2014                      . 10               N/A           N/A         10
                       15                      2015 ,                     18                N/A           N/A         18
                       16                      2016                       16               22          • N/A          38
                       17                      °OJT                       15               7              N/A         22
                       18                      2018                       12                15            23          50
                       19                      '201fr:                    1                2              22          25
                       20                      9020,i                                                     7           12
                                               -  . . . . !.:,!.'         0                5
                       21                      Total,:                    94               40                         192'
                                                                    ,
                       22

                       23            47.   TESLA collects a wide range of telematics data regarding the
                       24 performance, usage, operation, and condition of each Tesla vehicle. Some of the data

                       25 categories regularly captured by TESLA include the "vehicle identification number;
                       26 speed information; odometer readings; battery use management information; battery
                       27 charging history; electrical system functions; software version information;

                       28 infotainment system data; safety-related data and camera images (including
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                         1 information regarding the vehicle's SRS systems, braking and acceleration, security,
                         2 e-brake, and incidents); short video clips of incidents; information regarding the use
                         3 and operation of Autopilot, Summon, and other features; and other data to assist in
                         4 identifying issues and analyzing the performance of the vehicle."
                         5          48.   TESLA also collects "data about incidents involving your Tesla vehicle
                         6 (e.g., air bag deployment and other recent sensor data); data about remote services
                         7 (e.g., remote lock/unlock, start/stop charge, and honk-the-horn commands); a data
                         8 report to confirm that your vehicle is online together with information about the
                         9 current software version and certain telematics data; vehicle connectivity
                       10 information; data about any issues that could materially impair operation of your
                       11 vehicle; data about any safety-critical issues; and data about each software and
                       12 firmware update."
                       13                               FIRST CAUSE OF ACTION
                       14      {Strict Liability vs. TESLA INC. and DOES ONE through ONE HUNDRED)
                       15           49.   Plaintiffs incorporate by reference each preceding and succeeding
                       16 paragraph as though fully set forth at length herein.
                       17           50.   Defendants TESLA and DOES ONE through FIFTY designed,

                       18 manufactured, researched, tested, assembled, installed, marketed, advertised,
                       19 distributed, and sold a certain 2020 Tesla Model 3, bearing Vehicle Identification
                       20 Number(5YJ3E1EA4LF659047)(hereinafter referred to as the "SUBJECT
                       21 VEHICLE"). Defendant is both a "manufacturer" and a "seller" of the SUBJECT
                       22 VEHICLE.

                       23           51.   At the time the SUBJECT VEHICLE left the possession of Defendants
                       24 TESLA and DOES ONE through FIFTY, and each of them, it was in a defective
                       25 condition as that term is understood under California law and was unreasonably

                       26 dangerous when used in a reasonably foreseeable manner. The SUBJECT VEHICLE
                       27 constituted a defective product rendering Defendants, and each of them, strictly

                       28 liable in tort.
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                         1         52.   At all times relevant hereto, Defendants TESLA and DOES ONE
                         2 through FIFTY, and each of them, was engaged in the business of designing,
                         3 developing, manufacturing, testing, engineering, approving, marketing, promoting,
                         4 assembling, equipping, inspecting, repairing, labeling, fabricating, advertising,
                         5 distributing, wholesaling, selling, and supplying automobiles and component parts of
                        6 automobiles, including the SUBJECT VEHICLE,for use by the consuming public
                         7 throughout the United States.
                        8          53.   At all times relevant hereto, the dangerous propensities of the
                        9 SUBJECT VEHICLE were known to Defendants TESLA and DOES ONE through
                      10 FIFTY, and each of them, or were reasonably and scientifically knowable to them,
                      11 through appropriate research and testing by known methods, at the time they
                      12 designed, developed, manufactured, tested, engineered, approved, marketed,
                      13 promoted, advertised, distributed, and sold automobiles and component parts of
                      14 automobiles to the consuming public, but which were not known to end users or
                      15 consumers.
                      16           54.   At all times relevant hereto, Defendants TESLA and DOES ONE
                      17 through FIFTY, and each of them, knew that the SUBJECT VEHICLE would be
                      18 operated and inhabited by consumers without inspection for defects.
                      19           55.   At the time of the collision described above, the SUBJECT VEHICLE
                      20 was being used in a manner and fashion that was foreseeable by Defendants TESLA
                      21 and DOES ONE through FIFTY, and each of them, and in a way it was intended to
                      22 be used.
                      23           56.   Defendants TESLA and DOES ONE through FIFTY, and each of them,
                      24 designed, engineered, developed, manufactured, fabricated, assembled, equipped,
                      25 tested or failed to test, inspected or failed to inspect, repaired, retrofitted or failed to
                      26 retrofit, failed to recall, labeled, advertised, promoted, marketed, supplied,
                      27 distributed, wholesaled, and sold the SUBJECT VEHICLE and its component parts

                      28 and constituents, which was intended by TESLA to be used for the purpose of use as
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                          1 a passenger vehicle, and other related activities.
                          2         57.   The SUBJECT VEHICLE and its Autopilot system failed to meet the
                          3 expectations of the reasonable consumer. Based on the representations of Defendants
                          4 TESLA and DOES ONE through FIFTY, and each of them, an ordinary consumer
                         5 would have expected Autopilot, Obstacle Awareness Acceleration ("OAA"), Pedal
                         6 Misapplication Mitigation ("PMM") and/or the Automatic Emergency Braking
                         7 ("AEB")to have appropriately responded or operated during the subject incident.
                         8          58.   The SUBJECT VEHICLE was not reasonably safe because adequate
                         9 warnings or instructions were not provided with the vehicle at the time of
                       10 manufacture and sale. The likelihood that the vehicle would cause the harm
                       11 described herein or similar harms, and the seriousness of those harms, rendered the
                       12 warnings or instructions inadequate. TESLA could have provided the warnings or
                       13 instructions which the Plaintiffs allege would have been adequate.
                       14           59.   The SUBJECT VEHICLE was not reasonably safe because adequate
                       15 warnings or instructions were not provided after the SUBJECT VEHICLE was
                       16 manufactured, even though TESLA learned, or where a reasonably prudent
                       17 manufacturer should have learned, about the danger of SUA in its vehicles after it
                       18 was manufactured. In this case, TESLA was under a duty to act with regards to
                       19 issuing warnings or instructions concerning the danger in the manner that a
                       20 reasonably prudent manufacturer would act in the same or similar circumstances.
                       21 TESLA failed to exercise reasonable care to inform TESLA users of the not
                       22 reasonably safe condition of its Model 3 causing SUA.

                       23           60.   Furthermore, the SUBJECT VEHICLE was not reasonably safe in that
                       24 it was unsafe to an extent beyond that which would be contemplated by the ordinary
                       25 user.
                       26           61.   Plaintiffs were not aware of the aforementioned not reasonably safe
                       27 condition of the subject Model 3.

                       28           62.   Defendants TESLA and DOES ONE through FIFTY, and each of them,
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                      1 by their divisions, subdivisions, agents, servants, workmen, and/or employees is
                      2 strictly liable under California law for one or more of the following reasons:
                      3               a.     The SUBJECT VEHICLE was not safe for its intended and
                      4               foreseeable use;
                      5               b.     The SUBJECT VEHICLE was defective because it lacked a safety
                     6                system that would prevent the vehicle from high powered acceleration

                      7               with no braking into a pedestrian and vehicle detected by the Tesla's

                      8               camera system in a parking lot detected in the vehicle's path of travel;
                      9               c.     The SUBJECT VEHICLE was defective because it lacked any
                    10                type of pedal misapplication mitigation system;
                    11                d.     The subject Tesla was defective because despite detecting
                    12                Plaintiff JACKSON and her vehicle in the path of travel of the Tesla,
                    13                the Tesla accelerated into Plaintiff JACKSON and her vehicle crushing
                    14                her;
                    15                e.     The SUBJECT VEHICLE was defective because it suddenly
                    16                accelerated into a pedestrian and vehicle in a parking lot;
                    17                f.     The SUBJECT VEHICLE was defective due to sudden

                    18                unintended acceleration;
                    19                g.     The SUBJECT VEHICLE was defective because it accelerated
                   20                 from a stopped or slow-moving position into Plaintiff and her vehicle
                   21                 which was parked in front of the subject Tesla in a parking lot
                   22                 environment;

                   23                 h.     The SUBJECT VEHICLE was defective because the Obstacle
                   24                 Awareness Acceleration and/or Pedal Misapplication Mitigation failed to
                   25                 prevent the Tesla from accelerating into Plaintiff and her parked vehicle

                   26                 in front of the Tesla in a parking lot environment;
                   27                 i.     The SUBJECT VEHICLE was defective because the Automatic

                   28                 Emergency Braking failed to prevent the Tesla from accelerating into
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                          1               Plaintiff and her parked vehicle in front of the Tesla in a parking lot
                          2               environment;
                          3               j.     The SUBJECT VEHICLE was defective because it failed to
                          4               prevent the Tesla from accelerating into Plaintiff and her parked vehicle
                          5               in front of the Tesla in a parking lot environment;
                          6               k.     The SUBJECT VEHICLE was defective because despite the
                          7               vehicle camera system detecting Plaintiff and her parked vehicle
                         8                directly in front of the Tesla, the Tesla accelerated without braking,
                          9               reduction in acceleration or engine torque into Plaintiff and her vehicle
                       10                 crushing her;
                       11                 1.     Designing, manufacturing, distributing, and selling the
                       12                 SUBJECT VEHICLE with a defective and unsafe Obstacle Awareness
                       13                 Acceleration System;
                       14                 m.     Designing, manufacturing, distributing, and selling the
                       15                 SUBJECT VEHICLE with a defective and unsafe Pedal Misapplication
                       16                 Mitigation System;
                       17                 n.     Designing, manufacturing, distributing, and selling the
                       18                 SUBJECT VEHICLE with a defective and unsafe Automatic Emergency
                       19                 Braking System;
                       20                 o.     Designing, manufacturing, distributing, and selling a defective
                       21                 SUBJECT VEHICLE,in that the SUBJECT VEHICLE had an
                       22                 inadequate braking system which caused the collision that crushed
                       23                Plaintiff SYLVIA JACKSON's legs;
                       24                 p.     Designing, manufacturing, distributing, and selling a defective
                       25                SUBJECT VEHICLE,in that the SUBJECT VEHICLE had inadequate
                       26                 acceleration system, which caused the collision that crushed Plaintiff
                       27                SYLVIA JACKSON's legs;
                       28                 q.     The SUBJECT VEHICLE does not meet or perform to the
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                             1              expectations of end consumers, users, or ordinary consumers;

                             2              r.    Designing manufacturing, distributing, and selling a defective

                             3              vehicle that detected a pedestrian and vehicle in front of the
                             4              accelerating Tesla but applied no braking, reduction in engine torque, or

                             5              reduction in acceleration.
                             6              s.    The Tesla Model 3 does not meet or perform to the expectations of
                             7              reasonable consumers.
                             8              t.    The subject Tesla Model 3 and its vision system, automatic
                             9              emergency braking system and/or object awareness acceleration systems
                        10                  malfunctioned because the Tesla accelerated with 100 percent
                        11                  acceleration, no braking, and no reduction in acceleration despite the
                        12                  Tesla's camera system detecting Plaintiff JACKSON and her vehicle
                        13                  and recording the subject event.
                        14            63.   The Tesla Model 3 was expected by TESLA to reach, and did reach, the
                        15 user or consumer without substantial change to the condition in which it was sold.
                        16            64.   The defective condition of the SUBJECT VEHICLE was a cause of
                        17 Plaintiff SYLVIA JACKSON's catastrophic injuries.
                        18            65.   Defendant TESLA is strictly liable to Plaintiff for injuries and damages
                        19 caused by the defects and inadequacies in the design and manufacture of the Tesla
                        20 Model 3.
                        21            66.   The catastrophic injuries sustained by Plaintiff SYLVIA JACKSON
                        22 resulted from TESLA's failure to adequately warn of the dangers and hazardous and

                        23 defective condition of the SUBJECT VEHICLE.
                        24            67.   The catastrophic injuries sustained by Plaintiff SYLVIA JACKSON
                        25 resulted from TESLA's misrepresentation of the safety of the SUBJECT VEHICLE.

                        26            68.   By reason of the premises, on and prior to the date of Plaintiff SYLVIA
                        27 JACKSON's injuries, the SUBJECT VEHICLE was defective in its design in that it

                        28 would not, could not, and did not perform in a manner as safely as an ordinary
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                            1 consumer would expect when the vehicle was subjected to foreseeable driving
                            2 conditions. Further, the SUBJECT VEHICLE as designed, caused injuries to

                            3 Plaintiffs when the vehicle failed to perform as it should have.
                            4        69.    As a direct and legal result of the defective condition of the SUBJECT

                            5 VEHICLE, plaintiff SYLVIA JACKSON was caused to suffer and sustain severe
                            6 physical injuries, including crush injuries to both legs, and other injuries not yet
                            7 diagnosed. Plaintiff is informed, believes, and therefore alleges upon such
                            8 information and belief, that certain of said injuries will be permanent in nature, the
                            9 extent of said permanent injuries being at this time unknown.
                       10             70.   By reason of the premises, and as a direct and legal result thereof, it
                       11 became necessary for Plaintiff SYLVIA JACKSON to incur expenses for doctors,
                       12 hospitals, surgeries, nurses, and other reasonably required and medically necessary
                       13 supplies and services, which said services are still continuing. Plaintiff prays leave
                       14 to amend this Complaint to insert these elements of damage in this respect when the
                       15 same are finally determined.
                       16            71.    By reason of the premises, and as a direct and legal result thereof,
                       17 Plaintiff SYLVIA JACKSON has been unable at times to attend regular employment,
                       18 and Plaintiffs earning capacity has been diminished to Plaintiffs special damage in a
                       19 presently unascertained sum as said loss is not yet finally determined. Plaintiff
                       20 prays leave to amend this Complaint to insert these elements of damage in this
                       21 respect when the same are finally determined.
                       22            72.    By reason of the premises, and as a direct and legal result thereof,
                       23 Plaintiff has suffered and sustained general(non-economic) damages in a sum in
                       24 excess of the minimum jurisdictional limits of this Court.

                       25             WHEREFORE,Plaintiff SYLVIA JACKSON demands judgment against

                       26 Defendants as hereinafter set forth.
                       27 / / /

                       28 / / /
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                           1                             SECOND CAUSE OF ACTION
                           2        (Negligence vs. TESLA INC. and DOES ONE through ONE HUNDRED)
                           3          73.   Plaintiffs incorporate by reference each and every preceding allegation
                          4 as though fully set forth herein.
                           5          74.   The aforesaid injuries and damages sustained by Plaintiff SYLVIA
                          6 JACKSON were directly and proximately caused by the negligence, carelessness, and
                           7 other liability-producing conduct of Defendants TESLA and DOES ONE through
                          8 FIFTY, and each of them.
                          9           75.   The risks of the SUBJECT VEHICLE to consumers outweigh the
                        10 benefits.
                        11            76.   The Tesla Model 3 does not meet or perform to the expectations of
                        12 reasonable consumers.
                        13            77.   The SUBJECT VEHICLE was expected by Defendants TESLA and
                        14 DOES ONE through FIFTY, and each of them, to reach, and did reach, the user or
                        15 consumer without substantial change to the condition in which it was sold.
                        16            78.   SYLVIA JACKSON was an adult individual who would be reasonably
                        17 expected to come into contact with the SUBJECT VEHICLE.
                        18      •     79.   It was foreseeable to Defendants TESLA and DOES ONE through
                        19 FIFTY, and each of them, that the SUBJECT VEHICLE would be in a parking lot
                        20 and need to pull into a parking space.
                        21            80.   Defendants TESLA and DOES ONE through FIFTY, and each of them,
                        22 were negligent in the design and manufacture of the SUBJECT VEHICLE because

                        23 the SUBJECT VEHICLE accelerated from a stopped position or moving at slow
                        24 speeds with full power acceleration and no braking into Plaintiff SYLVIA JACKSON
                        25 and her vehicle in a parking lot environment.
                        26            81.   Defendants TESLA and DOES ONE through FIFTY, and each of them,
                        27 were negligent in the design and manufacture of the subject Tesla because despite

                        28 the Tesla's vision system detecting Plaintiff and her vehicle in front of the Tesla the
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    & SCHOENBERGER
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          267H FLOOR
                                                                        21
  SAN FRANCISCO,CA 99108
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                                               COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 27 of 41




                            1 subject Tesla accelerated from a stopped position or moving at slow speeds with full
                            2 power acceleration and no braking into Plaintiff SYLVIA JACKSON and her vehicle
                            3 in a parking lot environment.
                            4        82.    Defendants TESLA and DOES ONE through FIFTY, and each of them,
                            5 were negligent because the subject Tesla accelerated from a stopped position or
                            6 moving at slow speeds with full power acceleration and no braking into Plaintiff
                            7 SYLVIA JACKSON and her vehicle in a parking lot environment.
                            8        83.    Defendants TESLA and DOES ONE through FIFTY, and each of them,
                            9 were negligent for failing to prevent the subject Tesla from accelerating from a
                       10 stopped position or moving at slow speeds with full power acceleration and no
                       11 braking into Plaintiff SYLVIA JACKSON and her vehicle in a parking lot
                       12 environment.
                       13            84.    The aforesaid injuries and damages sustained by Plaintiff SYLVIA
                       14 JACKSON were directly and proximately caused by the negligence, carelessness, and
                       15 other liability-producing conduct of Defendants TESLA and DOES ONE through
                       16 FIFTY, and each of them, as set forth in this complaint, including:
                       17                   a.     Failing to integrate into the subject Tesla a safety system that
                       18                   would prevent the vehicle from high powered acceleration into a
                       19                   pedestrian and parked vehicle in the Tesla's path in a parking lot;
                      20                    b.     Failing to integrate any type of pedal misapplication mitigation
                      21                    system into the subject Tesla;
                      22                    c.     Designing the subject Tesla in a manner where it accelerated into
                      23                    a pedestrian and vehicle in a parking lot;
                      24                    d.     Designing the subject Tesla that experienced an sudden
                      25                    unintended acceleration;
                      26                    e.     Designing the Tesla in a manner where it accelerated from a
                      27                    stopped or slow-moving position into Plaintiff and her vehicle which was
                      28                    parked in front of the subject Tesla in a parking lot environment;
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                                                                         22
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                            1              f.     Failing to integrate an Obstacle Awareness Acceleration system
                            2              that would prevent the Tesla from accelerating into Plaintiff and her
                            3              parked vehicle in front of the Tesla in a parking lot environment;
                            4              g.     Failing to integrate an Automatic Emergency Braking system
                            5              that would prevent the Tesla from accelerating into Plaintiff and her
                            6              parked vehicle in front of the Tesla in a parking lot environment;
                            7              h.     Failing to prevent the Tesla from accelerating into Plaintiff and
                            8              her parked vehicle in front of the Tesla in a parking lot environment;
                            9              i.     Designing the subject Tesla where despite the vehicle camera
                       10                  system detecting Plaintiff and her parked vehicle directly in front of the
                       11                  Tesla, the Tesla accelerated without braking, reduction in acceleration
                       12                  or engine torque into Plaintiff and her vehicle crushing her;
                       13                 j.      Designing, manufacturing, distributing, and selling the
                       14                  SUBJECT VEHICLE with a defective and unsafe Obstacle Awareness
                       15                  Acceleration System;
                       16                  k.     Designing, manufacturing, distributing, and selling the
                       17                  SUBJECT VEHICLE with a defective and unsafe Automatic Emergency
                       18                  Braking System;
                       19                  1.     Designing, manufacturing, distributing, and selling a defective
                       20                  SUBJECT VEHICLE, in that the SUBJECT VEHICLE had an
                       21                  inadequate braking system, which caused the collision that crushed
                       22                 Plaintiff SYLVIA JACKSON's legs;

                       23                  m.     Designing, manufacturing, distributing, and selling a defective
                       24                  SUBJECT VEHICLE,in that the SUBJECT VEHICLE had an
                       25                  inadequate acceleration system, which caused the collision that crushed

                       26                 Plaintiff SYLVIA JACKSON's legs;
                       27                  n.     Negligently designing and selling a vehicle that does not meet or
                       28                  perform to the expectations of end consumers, users or ordinary
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                                Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 29 of 41




                            1              consumers;
                            2              o.     Designing manufacturing, distributing, and selling a defective
                            3              vehicle that detected a pedestrian and vehicle in front of the
                            4              accelerating Tesla but applied no braking, reduction in engine torque or
                            5              reduction in acceleration.
                            6              p.     Failing to issue a recall or push out a software update to remedy

                            7              the above-described deficiencies.
                            8        85.   The negligence of Defendants TESLA and DOES ONE through FIFTY,
                            9 and each of them, along with the defective, unsafe, and unreasonably dangerous
                       10 condition of the SUBJECT VEHICLE was a cause of Plaintiff SYLVIA JACKSON's
                       11 catastrophic injuries.
                       12            86.   The subject Tesla Model 3 and its vision system, automatic emergency
                       13 braking system and/or object awareness acceleration systems malfunctioned because
                       14 the Tesla accelerated with 100 percent acceleration, no braking, and no reduction in
                       15 acceleration despite the Tesla's camera system detecting Plaintiff JACKSON and her
                       16 vehicle and recording the subject event.
                       17            87.   Defendant TESLA's negligence was a direct and proximate cause of
                       18 Plaintiff SYLVIA JACKSON's severe and catastrophic personal injuries and
                       19 damages, for all of which damages are claimed.
                       20            88.   As a direct and proximate result of TESLA's negligence, Plaintiff
                       21 SYLVIA JACKSON suffered severe pain and suffering, anguish, and distress, the
                       22 loss of life's pleasures, for all of which damages are claimed.

                       23            89.   As a direct and proximate result of TESLA's negligence, Plaintiff
                       24 SYLVIA JACKSON suffered a loss of earnings and earning capacity, both past,
                       25 present, and future, for all of which damages are claimed.

                       26            90.   As a direct and proximate result of the defective condition of the Tesla
                       27 Model 3 and Defendant TESLA's conduct, Plaintiff, SYLVIA JACKSON,incurred

                       28 medical expenses, both past, present, and future, for all of which damages are
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                         1 claimed.
                         2          WHEREFORE, plaintiff SYLVIA JACKSON demands judgment against
                         3 defendants as hereinafter set forth.
                         4                                  THIRD CAUSE OF ACTION

                         5                          (Loss of Consortium vs. all Defendants)
                         6          Plaintiff GEORGE JACKSON, JR. complains of Defendants and for a Fourth
                         7 Cause of Action alleges as follows:
                         8          100. Plaintiff GEORGE JACKSON, JR. hereby refers to, incorporates, and realleges by
                         9 this reference as though set forth in full each and every allegation ofthe First, Second, and Third
                       10 Causes of Action, and makes them a part of this Fourth Cause of Action.
                       11           101. Plaintiff GEORGE JACKSON, JR. is, and at all times herein mentioned
                       12 was, the lawful spouse of Plaintiff SYLVIA JACKSON.
                       13           102. As a direct, legal, and proximate result of the culpability and fault of the
                       14 Defendants, be such fault through strict liability or negligence, Plaintiff GEORGE
                       15 JACKSON, JR. suffered the loss of support, service, love, companionship, affection,
                       16 society, intimate relations, and other elements of consortium, all to Plaintiffs general
                       17 damage, in an amount in excess of the jurisdictional minimum of this Court.

                       18           WHEREFORE,Plaintiffs demand judgment against the Defendants as
                       19 hereinafter set forth.
                       20                                      PRAYER FOR RELIEF

                       21           WHEREFORE,Plaintiffs demand judgment against the Defendants as follows:
                       22           1.     For general(non-economic) damages according to proof at the time of

                       23                  trial;
                       24           2.     For special (economic) damages according to proof at the time of trial;

                       25           3.     For prejudgment interest as permitted by law;

                       26           4.     For exemplary and punitive damages against TESLA;

                       27           5.     For costs of suit incurred herein as permitted by law; and

                       28           6.     For such other and further relief as this Court may deem proper.
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                                Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 31 of 41




                            1 Dated: June 1, 2022             WALKUP, MELODIA, KELLY & SCHOENBERGER

                            2

                            3
                                                              By:
                            4                                       ANDREW P. McDEVITT
                                                                    KATHERINE S. CONNOLLY
                            5
                                                                    Attorneys for Plaintiffs
                            6                                       SYLVIA JACKSON AND GEORGE
                                                                    JACKSON, JR.
                            7

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      (415) 981-7210
                                              COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
                               Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 32 of 41




                          1                             DEMAND FOR JURY TRIAL

                          2         Plaintiffs hereby demand a jury trial.

                         3 Dated: June 1, 2022                  WALKUP, MELODIA, KELLY & SCHOENBERGER

                         4

                         5
                                                                By:
                         6                                            ANDREW P. McDEVITT
                                                                      KATHERINE S. CONNOLLY
                         7
                                                                      Attorneys for Plaintiffs
                         8                                            SYLVIA JACKSON AND GEORGE
                                                                      JACKSON, JR.
                         9

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       (415)981.7210
                                              COMPLAINT FOR DAMAGES;DEMAND FOR JURY TRIAL
                             Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 33 of 41                                                                        CM-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                                      FOR COURT USE ONLY
       Andrew McDevitt, Esq.(SBN 271371)
       Walkup, Melodia, Kelly & Schoenberger
       650 California Street, 26th Floor
       San Francisco, CA 94108-2615                                                                                Electronically Filed
            TELEPHONE NO.: (415) 981-7210 FAX NO.(Optional):(415) 391-6965
           E-MAIL ADDRESS: amcdevitt@walkuplawoffice.com                                                           by Superior Court of CA,
       ATTORNEY FOR (Name): Plaintiffs                                                                             County of Santa Clara,
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa                      Clara                                         on 6/1/2022 8:07 PM
        STREET ADDRESS:    191 N. First Street                                                                     Reviewed By: M. Dominguez
        MAILING ADDRESS:
                            Jose, CA 95113
       CITY AND ZIP CODE: San                                                                                      Case #22CV399465
                                 imited
           BRANCH NAME: CiVi1 — Unl                                                                                Envelope: 9119465
     CMENAME          Jackson v. Tesla, et. al.

     CIVIL CASE COVER SHEET                          Complex Case Designation             CASE NUMBEF22CV399465
  Z
  I j Unlimited       D Limited                     IA Counter         D Joinder
      (Amount              (Amount
                                                                                          JUDGE:
      demanded              demanded is        Filed with first appearance by defendant
      exceeds $25,000)     $25,000 or less)      (Cal. Rules of Court, rule 3.402)        DEPT.:
                                  Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
       Auto Tort                                                Contract                                      Provisionally Complex Civil Litigation

      a    Auto (22)                                                 Breach of contract/warranty (06)          Cal. Rules of Court, rules 3.400-3.403)
           Uninsured motorist (46)
       Other Pl/PD/WD (Personal Injury/Property
       Damage/Wrongful Death) Tort
           Asbestos (04)                                       1     Rule 3.740 collections (09)
                                                                     Other collections (09)
                                                                     Insurance coverage (18)
                                                                     Other contract(37)

                                                                                                             1
                                                                                                                   Antitrust/Trade regulation (03)
                                                                                                                   Construction defect(10)
                                                                                                                    Mass tort (40)
                                                                                                                   Securities litigation (28)



      H    Product liability (24)
           Medical malpractice (45)
           Other PUPD/VVD (23)
       Non-PI/PD/WD (Other) Tort
                                                                 Real Property
                                                                1 1 Eminent domain/Inverse
                                                                      condemnation (14)
                                                                      Wrongful eviction (33)
                                                                      Other real property (26)
                                                                                                                   Environmental/Toxic tort (30)
                                                                                                                    Insurance coverage claims arising from the
                                                                                                                   above listed provisionally complex case
                                                                                                                   types (41)
                                                                                                              Enforcement of Judgment
           Business tort/unfair business practice (07)

                                                               ti                                             D Enforcement ofjudgment(20)



     1
           Civil rights (08)                                    Unlawful Detainer
           Defamation (13)                                          Commercial (31)                           Miscellaneous Civil Complaint
           Fraud (16)
           Intellectual property (19)
           Professional negligence (25)
                                                                    Residential (32)
                                                                    Drugs (38)
                                                                Judicial Review
                                                                                                              B   RICO (27)
                                                                                                                  Other complaint (not specified above) (42)
                                                                                                               Miscellaneous Civil Petition
           Other non-PUPD/VVD tort (35)
                                                                     Asset forfeiture (05)
                                                                                                              B    Partnership and corporate governance (21)



      R
       Employment
           Wrongful termination (36)
           Other employment(15)
2. This case       D is           Zi is not
                                                               d     Petition re: arbitration award (11)
                                                                     Writ of mandate (02)
                                                                     Other judicial review (39)
                                                                                                                   Other petition (not specified above) (43)



                                                 complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      a.        Large number of separately represented parties          d.      Large number of witnesses
      b.        Extensive motion practice raising difficult or novel   e.       Coordination with related actions pending in one or more
                issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
                                                                                court
      C. D Substantial amount of documentary evidence
                                                                       f. D Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply): a.            ai
                                                           monetary b. D nonmonetary; declaratory or injunctive relief c.              punitive
4.    Number of causes of action_(.52ecify): Three
5.    This case      1::1 is         L4.1 is not    a class action suit.
6.    If there are any known related cases, file and serve a notice of related case.(You      y use form M-e  i 16:
Date: June 1, 2022
A ndrew P. Mc-nevi I- 1-, Esq.
                             (TYPE OR PRINT NAME)
                                                                                                   _ cJj   GNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                                NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                    Page 1 of 2

Form Adopted for Mandatory Use                                                                                         Cal. Rules of Court, rules 2.30, 3.220, 3.400-33.403, 3.740,
 Judicial Coundl of California
CM-010[Rev. September 1,20211       CEEll Essential             CIVIL CASE COVER SHEET                                         Cal. Standards of Judicial Administration, std. 3.10
                                                                                                                                                                www.courts.ca.gov
                                 ceb.com 1 ropForms*
                                                                                                                   Jackson, Sylvia & George-16001
                             Case 5:22-cv-04380-BLF Document 1-2 Filed 07/28/22 Page 34 of 41

                                                                                                                                               CM-010
                                           I NSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                                    CASE TYPES AND EXAMPLES
Auto Tort                                               Contract
                                                            Breach of Contract/Warranty (06)              Provisionally Complex Civil Litigation (Cal.
   Auto (22)-Personal Injury/Property                                                                     Rules of Court Rules 3.400-3.403)
        Damage/Wrongful Death                                   Breach of Rental/Lease
                                                                    Contract (not unlawful detainer           Antitrust/Trade Regulation (03)
   Uninsured Motorist(46) (if the                                                                             Construction Defect (10)
       case involves an uninsured                                        or wrongful eviction)
                                                                Contract/Warranty Breach-Seller               Claims Involving Mass Tort(40)
       motorist claim subject to                                                                              Securities Litigation (28)
       arbitration, check this item                                 Plaintiff (not fraud or negligence)
                                                                Negligent Breach of Contract/                 Environmental/Toxic Tort(30)
       instead of Auto)                                                                                       Insurance Coverage Claims
                                                                    Warranty
Other PI/PD/WD (Personal Injury/                                Other Breach of Contract/Warranty                (arising from provisionally complex
Property Damage/Wrongful Death)                             Collections (e.g., money owed, open                   case type listed above) (41)
Tort                                                            book accounts)(09)                        Enforcement of Judgment
    Asbestos (04)                                               Collection Case-Seller Plaintiff              Enforcement of Judgment (20)
          Asbestos Property Damage                              Other Promissory Note/Collections                 Abstract of Judgment(Out of
          Asbestos Personal Injury/                                 Case                                               County)
                 Wrongful Death                             Insurance Coverage (not provisionally                 Confession of Judgment (non-
    Product Liability (not asbestos or                          complex)(18)                                           domestic relations)
          toxic/environmental) (24)                             Auto Subrogation                                  Sister State Judgment
    Medical Malpractice (45)                                    Other Coverage                                    Administrative Agency Award
          Medical Malpractice-                              Other Contract(37)                                        (not unpaid taxes)
               Physicians & Surgeons                            Contractual Fraud                                 Petition/Certification of Entry of
          Other Professional Health Care                        Other Contract Dispute                                 Judgment on Unpaid Taxes
               Malpractice                              Real Property                                             Other Enforcement of Judgment
    Other PI/PDNVD (23)                                     Eminent Domain/Inverse                                     Case
          Premises Liability (e.g., slip                        Condemnation (14)                         Miscellaneous Civil Complaint
               and fall)                                    Wrongful Eviction (33)                            RICO (27)
          Intentional Bodily Injury/PD/WD                   Other Real Property (e.g., quiet title)(26)       Other Complaint (not specified
              (e.g., assault, vandalism)                        Writ of Possession of Real Property               above) (42)
          Intentional Infliction of                             Mortgage Foreclosure                              Declaratory Relief Only
               Emotional Distress                               Quiet Title                                       Injunctive Relief Only(non-
          Negligent Infliction of                               Other Real Property (not eminent                       harassment)
               Emotional Distress                               domain, landlord/tenant, or                       Mechanics Lien
          Other PI/PD/WD                                        foreclosure)                                      Other Commercial Complaint
Non-Pl/PD/WD (Other) Tort                                                                                              Case (non-tort/non-complex)
                                                        Unlawful Detainer                                         Other Civil Complaint
    Business Tort/Unfair Business                           Commercial (31)
          Practice (07)                                                                                               (non-tort/non-complex)
                                                            Residential (32)
    Civil Rights (e.g., discrimination,                     Drugs (38) (if the case involves illegal      Miscellaneous Civil Petition
            false arrest)(not civil                             drugs, check this item; otherwise,            Partnership and Corporate
            harassment) (08)                                    report as Commercial or Residential)              Governance (21)
    Defamation (e.g., slander, libel)                                                                         Other Petition (not specified
         (13)                                           Judicial Review                                           above)(43)
    Fraud (16)                                              Asset Forfeiture (05)                                 Civil Harassment
    I ntellectual Property (19)                             Petition Re: Arbitration Award (11)                   Workplace Violence
    Professional Negligence (25)                            Writ of Mandate (02)                                  Elder/Dependent Adult
          Legal Malpractice                                     Writ-Administrative Mandamus                           Abuse
                                                                Writ-Mandamus on Limited Court                    Election Contest
          Other Professional Malpractice                            Case Matter
           (not medical or legal)                                                                                 Petition for Name Change
                                                                Writ-Other Limited Court Case                     Petition for Relief from Late
    Other Non-PUPD/VVD Tort(35)                                     Review                                             Claim
Employment                                                  Other Judicial Review (39)                            Other Civil Petition
    Wrongful Termination (36)                                   Review of Health Officer Order
    Other Employment (15)                                        Notice of Appeal-Labor
                                                                     Commissioner Appeals
CM-010(Rev. September 1, 20211                                                                                                                  Page 2 of 2
                                 IIIIICEB'l Essential            CIVIL CASE COVER SHEET
                                 ceb.com I IDForintr                                                      Jackson,Sylvia & George-16001
                            Case 5:22-cv-04380-BLF Document  1-2 Filed 07/28/22 Page 35 of 41
                                                       22CV399465
                                                                     Santa Clara — Civil

                                                                                                                     ATTACHMENT CV-5e(1 havez


CIVIL LAWSUIT NOTICE
Superior Court of California, County of Santa Clara
                                                                              CASE NUMBER: 22CV399465
191 North First St., San Jose, CA 95113



                                             PLEASE READ THIS ENTIRE FORM

PLAINTIFF(the person suing): Within 60 days after filing the lawsuit, you must serve each Defendant with the Complaint,
Summons, an Alternative Dispute Resolution (ADR)Information Sheet, and a copy of this Civil Lawsuit Notice, and you must file
written proof of such service.


  DEFENDANT (The person sued): You must do each of the following to protect your rights:
      1 You must file a written response to the Complaint, using the proper legal form or format, in the Clerk's Office of the
         Court, within 30 days of the date you were served with the Summons and Complaint;
      2. You must serve by mail a copy of your written response on the Plaintiffs attorney or on the Plaintiff if Plaintiff has no
         attorney (to "serve by mail" means to have an adult other than yourself mail a copy); and
      3. You must attend the first Case Management Conference.

                Warning: If you, as the Defendant, do not follow these instructions, you may automatically lose this case.



RULES AND FORMS: You must follow the California Rules of Court and the Superior Court of California, County of Santa Clara
Local Civil Rules and use proper forms. You can obtain legal information, view the rules and receive forms, free of charge, from
the Self-Help Center at 201 North First Street, San Jose (408-882-2900 x-2926).

           •           State Rules and Judicial Council Forms: www.courtinfo.ca.qovfforms and www.courtinfo.ca.qovirules
           •           Local Rules and Forms: htto://www.sccsuperiorcourt.orq/civil/rule1toc.htm


 CASE MANAGEMENT CONFERENCE(CMC): You must meet with the other parties and discuss the case, in person or by
telephone at least 30 calendar days before the CMC. You must also fill out, file and serve a Case Management Statement
(Judicial Council form CM-110) at least 15 calendar days before the CMC.

               You or your attorney must appear at the CMC. You may ask to appear by telephone - see Local Civil Rule 8.

  Your Case Management Judge is: Manoukian, Socrates P                                                 Department:

  The 1st CMC is scheduled for:(Completed by Clerk of Court)
                               10/25/2022                          3pm                                               20
                         Date:                               Time:                               in Department:

  The next CMC is scheduled for:(Completed by party if the 1st CMC was continued or has passed)
                                   Date:                              Time:                      in Department:



ALTERNATIVE DISPUTE RESOLUTION(ADR): If all parties have appeared and filed a completed ADR Stipulation Form (local
form CV-5008) at least 15 days before the CMC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
Visit the Court's website at www.sccsuperiorcourlorq/civil/ADR/or call the ADR Administrator (408-882-2100 x-2530) for a list of
ADR providers and their qualifications, services, and fees.

WARNING:Sanctions may be imposed if you do not follow the California Rules of Court or the Local Rules of Court.



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 Case # 22CV399465 - Sylvia Jackson et al vs TESLA, INC.(Manouki
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 Case Information
 Location                                          Category                                           Case Type
Santa Clara — Civil                                Civil - Unlimited                                  Auto Damages

 Case Initiation Date                              Case #
6/2/2022                                           22CV399465

 Assigned to Judge
 Manoukian, Socrates P


 Filings
 Filing Type                                       Filing Code
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 Fees

 Complaint(Unlimited)(Fee Applies)
 Description                                                                                          Amount
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 Civil Case Cover Sheet
 Description                                                                                          Amount
 Filing Fee                                                                                            $0.00
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Summons
 Description                                                                                          Amount
 Filing Fee                                                                                            $0.00
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 Civil Lawsuit Notice
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                                            SANTA CLARA COUNTY SUPERIOR COURT
                                              ALTERNATIVE DISPUTE RESOLUTION
                                                    I NFORMATION SHEET

Many cases can be resolved to the satisfaction of all parties without the necessity of traditional litigation, which can be expensive, time
consuming, and stressful. The Court finds that it is in the best interests of the parties that they participate in alternatives to traditional
litigation, including arbitration, mediation, neutral evaluation, special masters and referees, and settlement conferences. Therefore, all
matters shall be referred to an appropriate form of Alternative Dispute Resolution (ADR) before they are set for trial, unless there is good
cause to dispense with the ADR requirement.

What is ADR?
ADR is the general term for a wide variety of dispute resolution processes that are alternatives to litigation. Types of ADR processes
include mediation, arbitration, neutral evaluation, special masters and referees, and settlement conferences, among other forms.

What are the advantages of choosing ADR instead of litigation?
ADR can have a number of advantages over litigation:

    • ADR can save time. A dispute can be resolved in a matter of months, or even weeks, while litigation can take years.
    • ADR can save money. Attorney's fees, court costs, and expert fees can be reduced or avoided altogether.
    • ADR provides more participation. Parties have more opportunities with ADR to express their interests and concerns, instead
      of focusing exclusively on legal rights.
    • ADR provides more control and flexibility. Parties can choose the ADR process that is most likely to bring a satisfactory
      resolution to their dispute.
    • ADR can reduce stress. ADR encourages cooperation and communication, while discouraging the adversarial atmosphere of
      litigation. Surveys of parties who have participated in an ADR process have found much greater satisfaction than with parties
      who have gone through litigation.



What are the main forms of ADR offered by the Court?
Mediation is an informal, confidential, flexible and non-binding process in which the mediator helps the parties to understand the interests
of everyone involved, and their practical and legal choices. The mediator helps the parties to communicate better, explore legal and practical
settlement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the dispute; the parties
do.

Mediation may be appropriate when:
   • The parties want a non-adversary procedure
   • The parties have a continuing business or personal relationship
   • Communication problems are interfering with a resolution
   • There is an emotional element involved
   • The parties are interested in an injunction, consent decree, or other form of equitable relief

Neutral evaluation, sometimes called "Early Neutral Evaluation" or "ENE", is an informal process in which the evaluator, an experienced
neutral lawyer, hears a compact presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on each side, and predicts the likely outcome. The evaluator can help parties to identify issues, prepare stipulations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement.

Neutral evaluation may be appropriate when:
   • The parties are far apart in their view of the law or value of the case
   • The case involves a technical issue in which the evaluator has expertise
   • Case planning assistance would be helpful and would save legal fees and costs
   • The parties are interested in an injunction, consent decree, or other form of equitable relief




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Arbitration is a less formarprocess than a trial,- with no jury. The arbitrator hears the evidence and arguments of the parties, and then
makes a written decision. The parties can agree to binding or non-binding arbitration. In binding arbitration, the arbitrator's decision is final
and completely resolves the case, without the opportunity for appeal. In non-binding arbitration, the arbitrator's decision could resolve the
case, without the opportunity for appeal, unless a party timely rejects the arbitrator's decision within 30 days and requests a trial. Private
arbitrators are allowed to charge for their time.

Arbitration may be appropriate when:
   • The action is for personal injury, property damage, or breach of contract
   • Only monetary damages are sought
   • Witness testimony, under oath, needs to be evaluated
   • An advisory opinion is sought from an experienced litigator (if a non-binding arbitration)

Civil Judge ADR allows parties to have a mediation or settlement conference with an experienced judge of the Superior Court. Mediation
 is an informal, confidential, flexible and non-binding process in which the judge helps the parties to understand the interests of everyone
 involved, and their practical and legal choices. A settlement conference is an informal process in which the judge meets with the parties or
their attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normally suggests a resolution that the parties may
 accept or use as a basis for further negotiations. The request for mediation or settlement conference may be made promptly by stipulation
(agreement) upon the filing of the Civil complaint and the answer. There is no charge for this service.

Civil Judge ADR may be appropriate when:
    • The parties have complex facts to review
    • The case involves multiple parties and problems
    • The courthouse surroundings would be helpful to the settlement process

Special masters and referees are neutral parties who may be appointed by the court to obtain information or to make specific fact
findings that may lead to a resolution of a dispute.
Special masters and referees can be particularly effective in complex cases with a number of parties, like construction disputes.

Settlement conferences are informal processes in which the neutral (a judge or an experienced attorney) meets with the parties or their
attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations.
Settlement conferences can be effective when the authority or expertise of the judge or experienced attorney may help the parties reach a
resolution.

What kind of disputes can be resolved by ADR?
Although some disputes must go to court, almost any dispute can be resolved through ADR. This includes disputes involving business
matters; civil rights; collections; corporations; construction; consumer protection; contracts; copyrights; defamation; disabilities;
discrimination; employment; environmental problems; fraud; harassment; health care; housing; insurance; intellectual property; labor;
landlord/tenant; media; medical malpractice and other professional negligence; neighborhood problems; partnerships; patents; personal
injury; probate; product liability; property damage; real estate; securities; sports; trade secret; and wrongful death, among other matters.

Where can you get assistance with selecting an appropriate form of ADR and a neutral for your case, information about ADR
procedures, or answers to other questions about ADR?

Contact:
Santa Clara County Superior Court
ADR Administrator
408-882-2530




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